Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 1 of 16
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                  March 17, 2022
                                                                Nathan Ochsner, Clerk
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 2 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 3 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 4 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 5 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 6 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 7 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 8 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 9 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 10 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 11 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 12 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 13 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 14 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 15 of 16
Case 7:21-po-00001 Document 24 Filed on 03/17/22 in TXSD Page 16 of 16
